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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MAYSOUN ABUDAYYEH and CHELSEA
BURROW, individually and on behalf of all
others similarly situated,
                                                     Case No. 1:21-cv-00142
               Plaintiffs,
                                                     Hon. Andrea R. Wood
       v.
                                                     Magistrate Judge Hon. Heather K. McShain
ENVOY AIR, INC.,

               Defendant.


            STIPULATION OF DIMISSAL OF PLAINTIFF CHELSEA BURROW

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs Maysoun Abudayyeh and Chelsea
Burrow, individually and on behalf of all other similarly situated, and Defendant Envoy Air, Inc.,
by and through their undersigned counsel, hereby stipulate and agree to dismiss this matter only
as to Plaintiff Chelsea Burrow, without prejudice, and without assessment of fees or costs.


Date: June 28, 2022
Respectfully submitted,
 MAYSOUN ABUDAYYEH and                         ENVOY AIR, INC.
 CHELSEA BURROW, individually and
 on behalf of all others similarly situated,

 By: /s/Alexis D. Martin                       By: /s/Mark W. Robertson
     Attorney for Plaintiffs                       Attorney for Defendant

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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that a copy of the attached, Stipulation of
Dismissal of Plaintiff Chelsea Burrow, was served upon the parties by electronically filing with
the Clerk of the U.S. District Court of the Northern District of Illinois on June 28, 2022.

                                                    /s/Alexis D. Martin
                                                    Attorney for Plaintiffs
